    Case 2:22-cv-00214 Document 28 Filed 10/05/22 Page 1 of 5 PageID #: 149




                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

 CHAD WHITE,
                                                          Civil Action No.: 2:22-cv-00214

                                 Plaintiff,

          vs.                                             ORDER SETTING DEPOSITION
                                                          PROTOCOL
 EVIDENT ID INC., and MRI SOFTWARE
 LLC d/b/a TRUSTED EMPLOYEES,

                                 Defendants.



        The parties have agreed to a protocol governing the taking of depositions in this case.

Therefore, it is ORDERED that the following protocol shall be followed with all depositions

conducted herein:

        A.        Deposition Notices

        This Order applies to all depositions in this matter, which shall be noticed and conducted

pursuant to Fed. R. Civ. P. 30 and this Order.

        B.        Number of Depositions Allowed

        The parties agree that each party will be permitted to take 5 depositions without seeking

leave of court.

        C.        Duration of Deposition

        The presumptive time limitations on depositions imposed by Fed. R. Civ. P. 30(d)(1) shall

apply in this litigation unless the parties agree to a different time limitation, or the court establishes

a different time limitation upon good cause shown. Any agreement by the parties to alter the

presumptive time limits shall be in writing and submitted to the court as a stipulation.




                                                    1
    Case 2:22-cv-00214 Document 28 Filed 10/05/22 Page 2 of 5 PageID #: 150




       D.      Scheduling of Depositions

               1.      The parties shall meet and confer to establish by mutual agreement a

schedule for depositions in this litigation. The parties shall consider: (a) the availability of

documents from among those produced by the parties and third parties; (b) the objective of not

subjecting any person to repeated depositions; and (c) the need to preserve relevant testimony. The

scheduling of depositions should be coordinated to the extent possible.

               2.      As a general rule, a witness should not be deposed on the same subject more

than once. A party seeking to take a second deposition of a witness shall provide the opposing

party the basis for its request. Second depositions shall be permitted only upon agreement of the

parties or an order of this court issued for good cause shown. Second depositions should not be

cumulative or repetitive. The parties agree that second depositions taken specifically for the

purpose of admission at trial may be taken without leave of court, so long as the depositions are

scheduled in accordance with the provisions of this Order and do not delay the scheduled trial date.

Defendant may select as a corporate designee under Rule 30(b)(6) a witness who has or will also

testify in his or her individual capacity. A witness testifying as a Rule 30(b)(6) designee is

testifying in the place of the corporation and not in his or her individual capacity. Therefore, the

fact that an individual has testified as a Rule 30(b)(6) corporate representative does not prohibit

that individual from being deposed in his or her individual capacity as well.

               3.      Each party shall be notified at least 14 days in advance of a deposition,

unless the parties agree otherwise, or the Scheduling Order does not permit, or the court enters an

order that alters the notice period. A notice of the deposition of a party or party’s designated

witness, which requires the deponent to bring documents to the deposition, shall be served at least

14 days in advance.




                                                 2
    Case 2:22-cv-00214 Document 28 Filed 10/05/22 Page 3 of 5 PageID #: 151




       E.      Location of Depositions

       The parties shall endeavor to schedule all depositions at locations within a reasonable

distance from the residence of the deponent, or at such location agreed upon by all counsel involved

and the deponent.

       F.      Treatment of Confidential Information

               1.      A party may designate as confidential any portion of a witness’s deposition

testimony regarding, concerning, or revealing the contents of any document designated as

“CONFIDENTIAL” under the Protective Order entered in this litigation, or any other subject that

qualifies as confidential under the Protective Order. While a deponent is being examined about

information subject to the Protective Order, persons to whom disclosure is not authorized shall be

excluded. The terms of the Protective Order shall apply to that portion of any transcript or

recording designated as confidential under this paragraph, as well as to any confidential document

attached to the deposition transcript as an exhibit. The confidentiality designation may be made by

any party or their counsel either during the deposition or within the time period allowed under Fed.

R. Civ. P. 30(e) for a witness to review and change the transcript or recording; the entirety of the

affected transcript shall be maintained by all parties as “CONFIDENTIAL” during such period.

               2.      Before confidential portions of a deposition transcript or confidential

exhibits are filed with the Court or used at a hearing or trial, the party or attorney wishing to file

or use the confidential transcript portions or exhibits shall follow the directives contained in

Section II of the Protective Order (entitled “Post-Discovery Phase”).

       G.      Conduct of Depositions

               1.      Each party should designate one attorney to conduct the principal

examination of each deponent.




                                                  3
    Case 2:22-cv-00214 Document 28 Filed 10/05/22 Page 4 of 5 PageID #: 152




                 2.     The attorney conducting a deposition must provide opposing counsel with

at least one copy of each exhibit marked at such deposition, simultaneous with the marking of such

exhibit.

        H.       Deposition Disputes

                 1.     The parties shall meet and confer in to resolve disputes concerning the

timing or scheduling of depositions. If the parties are unable to resolve a dispute after good faith

efforts, they may present the issue to the court for resolution.

                 2.     Disputes arising during depositions that cannot be resolved by agreement

and that, if not immediately resolved, will significantly disrupt the discovery schedule, require

rescheduling of the deposition, or possibly result in the need to conduct a supplemental deposition,

shall be presented to the presiding Magistrate Judge by telephone. In the event the Magistrate

Judge is not available, then disputes may be presented to the presiding District Judge. In the event

neither the Magistrate Judge nor the District Judge are available, all efforts shall be made to

continue the deposition with full reservation of rights of the interrogation for a ruling at the earliest

possible time.

        The Clerk is hereby directed to send copies of this Order upon its entry to counsel of record.



                                               ENTER: October 5, 2022




                                                   4
    Case 2:22-cv-00214 Document 28 Filed 10/05/22 Page 5 of 5 PageID #: 153




Parties and Counsel:

 /s/ Matthew P. Crimmel                    /s/ Jonathan Patrick Floyd
 Matthew P. Crimmel, Esq.                  Jonathan Patrick Floyd
 MATTHEW P. CRIMMEL, ESQ.,                 TROUTMAN SANDERS
 ATTORNEY AT LAW PLLC                      P.O. Box 1122
 1042 Greystone Circle                     Richmond, VA 23218-1122
 Morgantown, WV 26508                      T: (804) 697-1435
 T: (304) 315-4486                         E: jonathan.floyd@troutmansanders.com
 E: matthewcrimmel@msn.com
                                           Attorney for Defendant MRI Software LLC
 Levi Y. Eidelman                          d/b/a Trusted Employees
 admitted pro hac vice
 THE CONSUMER JUSTICE LAW FIRM
 300 Cadman Plaza West,
 12th Floor, Suite 12040
 Brooklyn, NY 11201
 T: (718) 360-0763
 E: leidelman@cjl.law

 Attorneys for Plaintiff Chad White




                                       5
